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  SPRINT COMMUNICATIONS COMPANY LP.,
       Plaintiff,                             C.A. No. 17-1734-RGA
                   v.
  CHARTER COMMUNICATIONS, INC., et al.,       PUBLIC VERSION
       Defendants.

  SPRINT COMMUNICATIONS COMPANY LP.,          C.A. No. 17-1736-RGA
       Plaintiff,
                   v.                         PUBLIC VERSION
  MEDIACOM COMMUNICATIONS CORP.,
       Defendants.
                                              C.A. No. 18-361-RGA
  SPRINT COMMUNICATIONS COMPANY LP.,
       Plaintiff,                             PUBLIC VERSION
                   v.
  WIDEOPENWEST, INC. et al.,
       Defendants.                            C.A. No. 18-362-RGA

  SPRINT COMMUNICATIONS COMPANY LP.,          PUBLIC VERSION
       Plaintiff,
                   v.
  ATLANTIC BROADBAND FINANCE, LLC et al.,     C.A. No. 18-363-RGA
       Defendants.
                                              PUBLIC VERSION
  SPRINT COMMUNICATIONS COMPANY LP.,
         Plaintiff,
                     v.
  GRANDE COMMUNICATIONS NETWORKS,
  LLC et al.,
         Defendants.


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        I hereby certify that on June 30, 2020, true and correct copies of the foregoing document

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    ENTIRETY
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               Value Shares of Technologically Complex Products


                                        Jonathan D. Putnam1,        2




                                              April 16, 2014




     1
       Competition Dynamics. Earlier drafts beneﬁted from discussions with Peter Boberg, Peter Schwech-
  heimer and Andrew Tepperman, but I alone am responsible for any errors. I received valuable research
  assistance from Matt Johnson.
     2
       The ideas presented in this paper reﬂect some of the factors that may contribute to a complete patent
  damages analysis. Nothing in this paper should be construed as a complete damages analysis, which in
  general depends on additional facts that are speciﬁc to any given case.
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  subdivided, or when the sources of aggregate proﬁt must be allocated among individual causes.
  Alternatively, there are various reasons to extrapolate from a known part to some larger, but
  unobservable, whole.18

          In litigation—which focuses almost entirely on the asserted patent, with little or no mention
  of others in the portfolio—patentees routinely claim that vn is “large,” while accused infringers claim
  that it is “small.” Through some combination of (1)–(4), these claims can often be expressed in
  terms of P , V , v (or their royalty, asset and proﬁt analogues, as applicable) and sn , and tested
  for their internal consistency and/or consistency with other data. It will be convenient to assume
  that P , V and v and/or their analogues are observable or otherwise not disputed. This assumption
  allows us to focus on the determination of sn —i.e., on apportionment. Section 4 provides values of
  Kn , Mn and ΔLul that make these determinations easy to implement from the empirical literature.



  3     Empirical Literature

  Beginning with Pakes and Schankerman (1984), economists have employed a variety of methods to
  derive the distribution of patent values from optimizing behavior. Broadly speaking, these eﬀorts
  can be divided into two types: “longitudinal” models of patent renewal decisions, and “cross-
  sectional” models of patent family (country choice) decisions. Each of these types can be further
  divided into “perfect foresight” models, which assume that initial returns decay at a deterministic
  rate, and “option” models, which permit returns to evolve stochastically. Analysts typical assume
  that initial returns are distributed log-normally.19

          Papers based on patent renewal methods generally provide estimates for individual Eu-
  ropean countries, because there are too few renewal decisions during the life of a US patent to
  identify the distribution. Lanjouw et al. (1998) surveys most of the relevant research. Since then,
    18
       For example, Teece (2000, p. 207) describes a procedure by which prospective cross-licensees each create a list
  of their top patents (a “proud list”), and rate them in various dimensions: likelihood of infringement, validity and
  next-best alternatives. Each patent receives an aggregate score, which is then multiplied by a common royalty rate.
  The sum of these weighted royalties constitutes each ﬁrm’s aggregate claim on the other. According to Teece, the
  complete analysis of a pre-2000 complex semiconductor device could require 400-500 hours.
    19
       The log-normal distribution can be justiﬁed theoretically by modeling technical change as the product of indepen-
  dent multiplicative improvements to a production function, and appealing to a central limit theorem. Schankerman
  and Pakes (1986) reported that the log-normal distribution ﬁt best among the several distributions they tested.
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                                                                                                                       13


  Bessen (2008) estimates a deterministic model based on US patent renewals, using observed patent
  covariates (such as subsequent citations in later patents) to identify the value distribution. Among
  papers analyzing the choice of international patent family, Deng (2011) has integrated the various
  strands of the literature into a single general model of (European) patent family and renewal de-
  cisions with stochastic returns. Chan (2010) estimates an international patent family application
  model using ﬁrm-level data for the agricultural biotechnology sector.

          All of these models are identiﬁed, partially or completely, using the behavioral assumption
  that each year a patentee compares the annual return to patent protection, rt , to the annual cost
  of maintaining that protection, ct , and responds optimally by either renewing the patent, or not.
  In each model, the distribution estimated is that of the initial annual return, r1 (which captures
  the ﬁrst-year return received by the inventor).20 Patent family models assume, in addition, that in
  each country j in which an application is observed the capitalized asset value (over the life of the
                                                       ∗
  patent) exceeds the initial application cost: vj = Tt=1 β t (rjt − cjt ) > Cj0 , where Cj0 is the cost of
  ﬁling in country j, Tj∗ ≤ T j is the length of the patent’s life (assuming optimal renewal decisions,
  subject to the statutory maximum life T j ), 0 < β < 1 is a discount factor, and rj1 depends in
  addition on an invention-speciﬁc random eﬀect that is common across countries.

           For present purposes, the salient conclusions of these papers are:


     1. The assumption that r1 is distributed log-normally ﬁts the data well (and better than other
        parametric distributions).

     2. Though the studies naturally reach diﬀerent conclusions on the mean value of patent rights,21
        (which varies with the log-normal location parameter μr1 ) the scale parameter σr1 falls within
        a relatively narrow range (typically about 1.5 − 2.2).


         To facilitate the exposition, I assume log-normality of the value distribution (i.e., that
  ln v ∼ N (μv , σv )),22 but as Section 4.3 shows, this assumption is not essential to the main results
    20
       In “deterministic” models, rt is typically modeled as rt = r1 δ t−1 , where ln r1 ∼ N (μr1 , σr1 ) and 0 < δ < 1 is
  a depreciation factor. In “stochastic” models, rt evolves according to a stochastic process which permits the value
  of the patent to increase, though with decreasing probability, over time. The two methods generally imply similar
  valuations in the right tail of the distribution, i.e., among high-value patents.
    21
       For example, patents are worth less in smaller countries, and values vary systematically by technology ﬁeld.
    22
       The distribution of v is approximately, but not exactly, log-normal, because (a) v is the sum of log-normals,
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                                                                                                                           14


  of the paper.

          Almost all of the studies report v for the samples they examine at standard percentiles
  (generally at least 0.25, 0.50, 0.75, 0.90, 0.95 and 0.99). From the reported values, it is simple
  to compute the implied distribution of v over the range between two percentiles, assuming log-
  normality. Let vu be the value of v reported for the upper percentile, and vl be the value reported
  for the lower percentile. Then we have vu = exp[μv + σv F −1 (u)] and vl = exp[μv + σv F −1 (l)],
  where F (·) is the standard normal distribution function. Solving these equations jointly for μv and
  σv gives:
                                 σv = (ln vu − ln vl )/[F −1 (u) − F −1 (l)]                       (11)


          Table 1 reports the values of σv inferred using (11) from the estimates reported in various
  studies. These studies examine the patent value distribution across a range of countries, technologies
  and time periods, using both patent renewal and patent family application methods. With the
  exception of Bessen (2008) and Chan (2010), all of them report the simulated distribution of
  patent values at the same percentiles.23

        Table 1: Value of σv implied from various patent renewal and patent application studies




          Estimates of σv vary somewhat over the diﬀerent intervals between percentiles. In general,
  the implied value of σv decreases in the right tail of the distribution, partly because truncation has
  less eﬀect on the values there.

          The table highlights several diﬀerences among the studies, and hints at possible explanations
  for those diﬀerences. For example, unlike other studies, Lanjouw (1998) assumes an exponential
  which is not log-normal; (b) the application fee C0 and annual renewal fees ct cause inventors who draw a low value
  for r1 either not to ﬁle at all, or to allow their patents to lapse prior to reaching T ; both of these distortions truncate
  the left tail of the distribution of v; and (c) these fees constitute a larger proportion of lower-value patents, further
  skewing the v distribution (which, unlike the distribution of r1 , is based on value net of fees). For these reasons,
  the implied values of σv vary somewhat over the support of v. Note that any sample drawn from the log-normal
  distribution satisﬁes assumptions (1)–(4), and is therefore AUC-consistent, provided that the draws are independent.
    23
       The value reproduced from Bessen (2008) is the middle of three estimates reported for σr1 , which generally falls
  near the middle of the implied range for σv . Chan (2010) reports percentiles corresponding to points in the support
  of the distribution that are ﬁxed across the countries she studies. I calculate σv for the percentiles that most nearly
  match those shown in Table 1.
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  distribution of initial returns, which (having a thinner right tail) appears to yield lower estimates of
  σv than are found by authors who assume a log-normal distribution. In general, the international
  patent family studies ﬁnd higher estimates for σv than those found in studies based on patent
  renewal data.24 On the other hand, there appears to be no systematic diﬀerence between studies
  that assume perfect foresight and those that allow for the stochastic evolution of returns.

          For present purposes, the main conclusion from Table 1 is that the values of σv fall within
  a relatively narrow range.25 The median value of σv ranges from about 2.1 for the bottom 75% of
  the distribution to about 1.7 for the top 5%.

          It is important to study the impact of variations in σv on the value distribution, to under-
  stand the circumstances in which such variation does and does not matter for the apportionment
  of value. Figure 1 plots Lorenz graphs (from (6)) for values of σv ranging from 0 to 3. A value of 0
  implies that all patents have the same value (the “45 degree line”). As σv increases, the distribu-
  tion becomes increasingly skewed, with the right tail of the distribution commanding an increasing
  fraction of the total value. For example, for σv = 1, the bottom 90% of the distribution represents
  about 61% of the total value (L90 = 0.68), which implies that the top 10% of patents constitute
  39% of the total (M90 = 3.9). For σv = 2, the ﬁgures are: L90 = 0.24, M90 = 7.6.

                  Figure 1: Lorenz graphs of the patent value distribution for selected σv




          The heavy line in Figure 1 plots the composite Lorenz graph constructed using the medians
  of the estimates reported in Table 1. The median graph lies between those plotted for σv = 1.5
  and σv = 2.

          Though the aggregate skewness of the distribution varies markedly, depending on σv , the
  next section shows that the shares of the distribution are quite stable over the vast majority of the
    24
       Chan (2010), a study of agricultural biotechnology inventions that were made by commercially successful ﬁrms,
  consistently shows the highest estimates across all studies. Such patents may exhibit greater skew.
    25
       Relatively small variations in σv , by themselves, imply relatively large variations in the expected value of the
  underlying distribution, which is given by E[v] = exp(μv + σv2 /2). But we are interested in the shares of the
  distribution, and take the expected value as having been estimated from other data (such as average proﬁt per
  patent). Variations in σv are relevant only insofar as they aﬀect the implied shares. As I explain, shares do not vary
  much with σv , except in the extreme right tail.
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                                                                          Figure 1
                                                Lorenz graphs of the patent value distribution, for selected v

                 100%


                                  90%


                                  80%


                                  70%
Share of portfolio value Vn / V




                                  60%
                                                                                 
                                  50%
                                                                                                
                                  40%
                                                                                                          

                                  30%
                                                                                                                   

                                                                                                                  
                                  20%
                                                                                                                               
                                                                                                                                     
                                  10%


                                  0%
                                        0%    10%    20%     30%       40%        50%       60%        70%       80%      90%             100%
                                                                   Share of portfolio patents Pn / P
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                                                      International Journal of Industrial Organization 29 (2011) 766–777



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A dynamic stochastic analysis of international patent application and
renewal processes☆
Yi Deng ⁎
Department of Economics, University of South Florida, 4202 East Fowler Avenue, Tampa, FL 33620, USA




a r t i c l e        i n f o                           a b s t r a c t

Article history:                                       This paper formulates a dynamic stochastic model to examine the joint patent application and renewal
Received 11 September 2009                             behaviors under an international patent-protection regime. The framework makes it possible to utilize both
Received in revised form 18 December 2010              the cross-sectional (multi-country application) and the time-series (patent renewal) dimensions of available
Accepted 9 April 2011
                                                       international patenting data to estimate the private value of patent protection, and allows us to distinguish
Available online 12 May 2011
                                                       more aspects of patent returns. The evolution dynamics of the value of European patents in pharmaceutical
JEL classiﬁcation:
                                                       and electronics industries are examined. Estimation results indicate that pharmaceutical patents are endowed
O34                                                    with higher initial returns, thus their owners tend to seek patent protection in more countries than electronics
                                                       patent holders. However, pharmaceutical patents become obsolete at a much faster pace than electronics
Keywords:                                              patents, and consequently they have lower renewal rates and shorter lives.
Patent application                                                                                                            © 2011 Elsevier B.V. All rights reserved.
Patent renewal
EPO




1. Introduction                                                                                1986), or on patent application with a deterministic evolution for
                                                                                               patent returns (Deng, 2007; Putnam, 1996), but never on a stochastic
    During the past two decades, patent evaluation has attracted                               framework which can be used to jointly examine patent application
considerable academic scrutiny, for both public policy analysis and                            and renewal behaviors and identify the stochastic evolution of patent
commercial purposes. As patent value is not directly observable,                               returns over patent lives. This paper builds such a framework, in
researchers have experimented with many different approaches to                                which a representative patent applicant has to estimate, ex-ante, how
impute it, using various patent characteristics such as simple patent                          potentially valuable his invention will be in each country and decides
counts (Griliches, 1990), forward citations made by other patents                              in which countries to seek patent protection. After the patent ap-
(Trajtenberg, 1990; Lanjouw and Schankerman, 2004; Hall et al.,                                plication has been granted, the patent holder then updates his eval-
2005), the length of patent lives (most notably Pakes and Schankerman                          uation of the patent rights in each country based on information he
(1984), Pakes (1986), Lanjouw (1998), and Schankerman (1998)), and                             gradually learns, period by period, and decides whether to keep the
the family size of patents (i.e., the number of countries in which a patent                    patents alive in each country, until they ﬁnally lapse.
holder seeks patent protection — Putnam (1996), Eaton et al. (2003)                                In examining patent holders' renewal behavior, one needs to
Deng (2007)).                                                                                  realize that patent renewal is an optimizing process, during which a
    This paper extends the existing literature by developing a dynamic                         patent holder compares the renewal costs with the expected future
stochastic patent application–renewal model and examining the joint                            returns of the patent and decides how long the patent should be kept
determination of patent family size and length of patent life, thus                            alive. Thus the length of a patent's life reveals useful information
facilitates the combination of information from both dimensions to                             about the patent's private value to its owner. Similarly, in choosing
estimate the distribution of patent value. Most relevant studies in the                        which countries in which to seek patent protection, a prospective
literature either focus only on patent renewal (Lanjouw, 1998; Pakes,                          applicant would also compare the application costs with the expected
                                                                                               future returns in each country, and decide which countries in which to
                                                                                               apply. Applicants with high-valued inventions tend to seek protection
 ☆ Special thanks go to Jean Lanjouw, Ariel Pakes, Steven Berry, Jonathan Eaton,
Samuel Kortum, and participants at the 2009 Econometric Society Summer Meeting,                in more countries, ceteris paribus. Therefore, examining the joint
the 2008 Society for Computational Economics Conference, and the International                 distribution of family size and the length of patent life across different
Industrial Organization Annual Conference for their insightful suggestions and                 countries will allow us to distinguish more aspects of the patent value,
comments. Two anonymous referees provided detailed and constructive suggestions                and advance our understanding of how the patent value changes over
which helped improve the paper in many ways. I thank Patricia Nickinson for her
editorial assistance.
                                                                                               time as well as across different countries.
  ⁎ Tel.: + 1 813 974 6521; fax: + 1 813 974 6510.                                                 Examining patents' joint application–renewal behavior may also
    E-mail address: ydeng@usf.edu.                                                             shed light on some puzzles implied by the patenting data. Normally,

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doi:10.1016/j.ijindorg.2011.04.004
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772                                                            Y. Deng / Int. J. Ind. Organ. 29 (2011) 766–777


Table 2                                                                                  ﬁt from a more productive learning process at early ages, which tends
Model estimation results.                                                                to boost their expected returns over time.
                                          Pharmaceutical              Electronics            However, the comparison of learning processes between these
                                                                                         two technology ﬁelds is complicated by parameter estimates of ϕ,
  A. Parametera
  θ                                       0.95 (0.03)                 0.98 (0.02)        the decay rate of σt. Recall that parameter σt is deﬁned as σt = σϕ t − 1
  δ                                       0.95 (0.03)                 0.96 (0.03)        in Eq. (2.3). The estimate of the decay rate ϕ is 0.61 for pharmaceutical
  σ                                       3575 (413)                  2380 (358)         patents and 0.70 for electronics patents. In other words, although a
  ϕ                                       0.61 (0.06)                 0.70 (0.07)
                                                                                         pharmaceutical patent may have a higher initial learning probability
  γ                                       0.55 (0.05)                 0.49 (0.05)
  υ                                       1.04 (0.09)                 1.38 (0.07)        (a higher σ), such probability declines more quickly. And starting
  μα                                      9.08 (0.83)                 8.33 (0.74)        from age 5, σt of the pharmaceutical patents becomes smaller than
  σα                                      2.07 (0.38)                 1.74 (0.33)        that of the electronics patents. The estimates of the other parameter of
  σε                                      1.35 (0.24)                 1.53 (0.27)        the exponential distribution, γ, are similar for these two technology
  τ                                       3.06 (0.27)                 2.75 (0.26)
                                                                                         groups.
  Dummy 82–83                             0.14 (0.04)                 0.00 (0.03)
  Dummy 84–85                             0.24 (0.05)                 0.07 (0.04)            It might be more straightforward to simulate the learning process
                                                                                         in these two patent groups and examine the implications of these
 B. Size of                                                                              different parameter estimates. Table 3 illustrates the results of a
 B1. Sample                               12,329                      56,737
                                                                                         simulation run of cohort group 1980–1981 patents, based on the
 B2. Simulation                           36,987                      170,221
 B3. Cohort–age–country cells             312                         312                parameter estimates as reported in Table 2. Columns 2 to 4 of the table
                                                                                         display the percentage of the simulated pharmaceutical patents
 C. Summary statisticsb                                                                  learning a higher value at each age in Germany, France and the U.K.,
 C1. MSE(π̃)                              0.0328                      0.0582             out of all patents that live up to that age. For instance, at the beginning
 C2. V(π)                                 0.0852                      0.1402
                                                                                         of age 2, 17% of the pharmaceutical patent applicants discover a
 C3. MSE(π̃) / V(π)                       0.3849                      0.4151
 C4.MSE(π̃desig ) / V(πdesig)             0.4396                      0.4859             use which generates higher subsequent returns than known before
 C5. MSE(π̃renewal ) / V(πrenewal)        0.3115                      0.2997             in France, 9% in Germany and 7% in the U.K.; at age 3, the learning
 a
    Estimated standard errors are reported in parentheses.                               probability drops to 11% in France, 6% in Germany, and 4% in the U.K.
 b
    MSE is calculated as the sum of squared residuals weighted by the number of          The learning probability continues to decline over time. By age 5,
patents in each cohort–age–country cell. V(π) is the sample variance from the data.      about 2% to 6% of the pharmaceutical patent holders ﬁnd more prof-
                                                                                         itable ways to exploit their patented ideas in these three countries,
improvement of our model's performance over such a “naive” model,                        and the learning process of pharmaceutical patents is essentially over
similar to a (1 − R 2) statistic in linear regressions. As shown in row                  by age 11 in Germany and the U.K. and by age 12 in France. After that,
C3 of Table 2, compared with the “naive” model, the joint application–                   the deterministic depreciation and obsolescence processes begin to
renewal model improves the ﬁtness of data by about 63% for phar-                         dominate the evolution of patent returns.
maceutical patents and about 58% for electronics.                                            Columns 5 to 7 of Table 3 report the simulated learning dynamics
   To separately examine the model's performance in ﬁtting desig-                        of the electronics patents. Similar to the case of pharmaceutical
nation and renewal patterns, the total weighted MSE is decomposed                        patents, the learning probability in this group also gradually declines
into two parts, one in matching the designation rates (row C4) and                       over time, in Germany from 10% at age 2 to 4% at age 5, and the
the other in matching the renewal rates (row C5). By comparing                           learning is essentially over by age 11. In France, learning probability
them with the variance of the corresponding actual designation and                       drops from 13% at age 2 to 5% at age 5, and essentially to zero after age
renewal rates in the sample, we conclude that the estimated model                        12. Such probability is 15% in the U.K. at age 2 and 6% at age 5, and the
performs well in both dimensions. For instance, it improves over                         learning is over after age 12 as well.
the “naive” model by 56% in ﬁtting the pharmaceutical designation                            The fact that the dynamics of learning probability is similar in
pattern and 51% in ﬁtting the electronics designation pattern, and by                    pharmaceutical and electronics patent groups reﬂects offsetting
69% and 70% in ﬁtting the renewal pattern of these two patent groups,                    effects of different parameters of the learning processes in these
respectively.                                                                            two groups. As noted above, the parameter σt in the learning process
                                                                                         of pharmaceutical patents is initially higher than that of electronics
4.1. Obsolescence and depreciation dynamics                                              patents, which generates higher probabilities of discovering a higher
                                                                                         value for any given level of patent value. However, because the initial
    The estimates of model parameters are all positive and signiﬁcant.                   returns of pharmaceutical patents are on average higher than those
The estimated deterministic depreciation rate δ is fairly close in the
two patent groups: each year patent returns depreciate by 4–5% in
both technology ﬁelds. The estimate of the annual obsolescence rate θ,                   Table 3
however, is quite different between the two groups. In particular,                       Percentage of pharmaceutical and electronics patents learning a higher value.
each year about 2% of electronics patents become obsolete, but the                                   Pharmaceutical (%)                   Electronics (%)
obsolescence rate is more than doubled among pharmaceutical patents,
                                                                                           Age       Germany        France      U.K.      Germany           France       U.K.
about 5%. This is consistent with the observation of a shorter average
life for pharmaceutical patents in the data analysis in Section 3. We                      2         8.95           17.31       7.19      9.72              13.16        14.80
                                                                                           3         5.58           10.87       4.44      6.14               8.29         9.32
will explore possible explanations for different obsolescence dynamics
                                                                                           4         4.84            9.31       3.21      6.15               7.86         9.64
in these two technology ﬁelds below.                                                       5         2.58            5.95       1.64      3.61               4.72         5.56
                                                                                           6         0.99            2.93       0.90      1.95               2.59         3.22
4.2. Learning dynamics                                                                     7         0.36            1.15       0.30      0.98               1.33         1.59
                                                                                           8         0.07            0.55       0.08      0.46               0.71         0.76
                                                                                           9         0.04            0.22       0.03      0.11               0.31         0.23
    Model estimation also implies that parameter σ for the pharma-                         10        0.01            0.06       0.01      0.04               0.11         0.05
ceutical patents, which characterizes the stochastic learning process-                     11        0.00            0.02       0.00      0.00               0.04         0.01
es, is signiﬁcantly higher than that of the electronics patents. For a                     12        0.00            0.00       0.00      0.00               0.00         0.01
patent with a given value, a larger σ implies a larger probability of                    Note: Table 3 reports the learning probability from a simulation run of cohort group
learning a higher value. Therefore, pharmaceutical patents may bene-                     1980–1981 patents (nsim = 3), based on the parameter estimates reported in Table 2.
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of electronics patents (as shown below in Table 4), the actual                                 ideas, especially at early ages, also provide their owners more resources
probability of ﬁnding a return exceeding the present level may not                             for such explorations.6
necessarily be higher than that of the electronics patents. The ﬁrst few
rows of Table 3 show that the learning probability of pharmaceutical                           4.3. Returns to market sizes
patents at early ages is slightly higher than that of electronics patents
in France but lower in Germany and the U.K. Moreover, the parameter                                The estimated value of υ is signiﬁcantly different from zero,
σt of pharmaceutical patents declines faster over time, and by age 7                           implying that the patent value in a given country is highly correlated
it becomes signiﬁcantly lower than that of electronics patents in all                          with the market size of the country and increases as the size of the
three countries. From then on, the learning probability of pharma-                             economy increases, i.e., a larger market generates higher returns to
ceutical patents is consistently lower than the corresponding prob-                            patent holders. However the estimated degree of returns to scale
ability of electronics patents.                                                                differs signiﬁcantly in the two technology ﬁelds: pharmaceutical
    Pakes (1986) reports that in a sample of German and French                                 patents exhibit approximately constant returns to scale, while elec-
patents in the 1950s to 1970s, the learning process is essentially over                        tronics patents show signiﬁcantly increasing returns to scale. For
by the age of 5. Lanjouw (1998) shows that the learning stops by age 6                         example, the market size of Austria is approximately 10% of that of
or 7 in all technology groups in her sample of German patents in 1953                          Germany, as measured by the ratio of their real GDPs, and model
to 1988. In contrast, model estimation here indicates a signiﬁcantly                           estimates imply that the median initial return of a pharmaceutical
longer learning process during the life of EPO patents. This suggests                          patent in Austria is about 9.1% of that in Germany. However, for
that EPO patents have quite different characteristics from the national                        electronics patents, the median initial return in Austria is only 4.2%
patents studied in previous literature, most likely, a higher average                          of that in Germany. Previous patenting literature has provided little
quality. As the EPO is a multi-country patent protection regime with                           evidence regarding the degree of returns to scale in different countries.
higher application costs, only those applicants who decide to seek                             Researchers such as Putnam (1996) generally make an ad hoc as-
protection in more than one country will choose to apply (otherwise                            sumption of constant returns to scale.
they may choose the cheaper national route in the single country in                                Estimates of this returns-to-scale parameter have important policy
which they are interested). This selection process leads to a higher                           implications. For instance, our estimates suggest that electronics in-
quality on average in the EPO sample than national patent samples                              ventors may beneﬁt more from market integration and patent har-
examined in previous studies. Owners of these higher-quality patents                           monization in Europe than pharmaceutical inventors in terms of
would expect higher patent values and are thus more willing to                                 patent protection, other things being equal. This is because the value
experiment with new strategies to exploit the patented ideas. On the                           of an electronics invention in a uniﬁed European market would be
other hand, the higher revenues from implementing these patented                               signiﬁcantly higher than the sum of values in individual national
                                                                                               markets due to increasing returns to scale, whereas for a pharma-
                                                                                               ceutical invention the value would be almost the same.
                                                                                                   The exact reason for such a difference remains unclear, yet we
Table 4                                                                                        suspect that it may be closely related to the different characteristics
Distribution of the initial returns of simulated patents.
                                                                                               of these two technology ﬁelds: pharmaceutical products are usually
                   Pharmaceutical                                                              based on a single or only a few speciﬁc inventions (“discrete” tech-
                   50%                     90%                      99%
                                                                                               nology as characterized by Levin et al. (1987)), and because the sales
                                                                                               of the ﬁnal products in different countries usually increase at a
                   Value         Cum. %    Value        Cum. %      Value        Cum. %
                                                                                               constant rate as the market size or the population increases, the
                   ($ thou)                ($ thou)                 ($ thou)
                                                                                               patent value would naturally exhibit a constant returns to scale. The
  Austria          0.64          0.48%      14.88        8.16%       211.78      30.21%
                                                                                               production of electronics, on the other hand, may rely on various
  Belgium          0.33          0.78%       7.53       13.18%        95.75      47.45%
  Switzerland      3.74          0.64%      85.10       10.76%      1144.55      41.90%        technologies embodied in a large number of inventions (“complex”
  Germany          8.61          0.61%     210.35       10.38%      2585.70      39.40%        technology, same above), and a substantial part of patent payoffs are
  France           1.43          0.82%      31.69       13.52%       445.06      50.01%        obtained through arrangements such as cross-licensing agreements.
  U.K.             7.65          0.64%     169.80       10.65%      2301.24      39.36%        In countries with a larger economy and a larger electronics industry, a
  Italy            1.58          0.69%      36.15       11.32%       466.66      42.71%
  Luxembourg       0.05          0.68%       1.07       11.37%        15.01      42.72%
                                                                                               patent holder may ﬁnd more uses and more possibilities to negotiate
  Netherlands      4.49          0.73%      96.71       12.06%      1300.58      44.50%        cross-licensing agreements than in countries with a smaller economy.
  Sweden           0.95          0.73%      21.64       12.21%       308.56      48.02%        Therefore it is not surprising that the patent value in this group shows
                                                                                               increasing returns to scale, as a positive externality or spillover effect
                   Electronics
                                                                                               may occur when various electronics patents are combined. 7
                   50%                     90%                      99%                            The estimate of τ also indicates signiﬁcant correlations between
                   Value         Cum. %    Value        Cum. %      Value        Cum. %        patent returns across different destination countries. Moreover, such
                   ($ thou)                ($ thou)                 ($ thou)

  Austria          0.09          1.05%        1.65      15.28%        19.12      51.42%          6
                                                                                                   Alternatively, there might also be a general increase in the overall quality of patent
  Belgium          0.04          1.03%        0.68      15.02%         7.42      49.09%
                                                                                               applications from the 1950s to the 1980s, although literature has not found ﬁrm
  Switzerland      0.11          1.02%        2.29      15.31%        24.35      51.09%
                                                                                               evidence supporting such a conjecture.
  Germany          4.08          0.99%       81.91      14.76%       897.71      49.48%          7
                                                                                                   Levin et al. (1987), Merges and Nelson (1990), Kusonaki et al. (1998), Kash and
  France           2.60          0.95%       49.88      13.87%       554.31      45.91%
                                                                                               Kingston (2000), and Cohen et al. (2000) all recognize this distinction between
  U.K.             1.77          1.00%       34.72      14.74%       374.23      47.49%
                                                                                               “discrete” and “complex” technologies. As Cohen et al. (2000) explain, “the key
  Italy            0.84          1.04%       16.39      15.24%       186.78      51.82%
                                                                                               difference between a complex and a discrete technology is whether a new,
  Luxembourg       0.01          0.94%        0.15      14.02%         1.63      46.33%
                                                                                               commercializable production or process is comprised of numerous separately
  Netherlands      0.93          1.02%       17.94      14.89%       201.45      49.49%
                                                                                               patentable elements versus relatively few,” and “new drugs or chemicals typically
  Sweden           0.17          1.02%        3.44      15.18%        40.35      51.63%
                                                                                               are comprised of a relatively discrete number of patentable elements. In contrast,
Note: Table 4 reports the distribution of the initial patent returns (prior to the             electronic patents tend to be comprised of a larger number – often hundreds – of
designation decision being made) in each of the 10 EPO member countries, based on a            patentable elements and, hence, may be characterized as complex.” Hall et al. (2005)
simulation run of cohort group 1980–1981 patents. Columns 2, 4, 6, 8, 10 and 12 display        also argue that the “drug industry is characterized by discrete product technologies
the initial returns of the patents, and columns 3, 5, 7, 9, 11 and 13 display the              where patents serve their traditional role of exclusion … while as computers and
cumulative proportions of the initial returns in the total initial returns of the simulated    communications is a group of complex product industries where any particular
patent group in each country. All monetary values are in units of 2000 U.S. dollars.           product may rely on various technologies embodied in several patents.”
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correlations decrease as the geographical distance increases. For                                                              Pharmaceutical Patents
                                                                                                                          sample                                        simulation
instance, correlations between the idiosyncratic shocks to pharma-
                                                                                        1
ceutical patent returns in Germany and Austria are 0.36, and the
correlations decline to 0.18 between Germany and France and to 0.10
between Germany and Italy; correlations between France and                            0.8
Belgium are as high as 0.60, and decline to 0.43 between France and
Switzerland and 0.05 between France and Sweden. Cross-country                         0.6
correlations between electronics patents are slightly higher: 0.41
between Germany and Austria, 0.22 between Germany and France                          0.4
and 0.13 between Germany and Italy. Whether such high correlations
reﬂect cross-border technological spillover or can ultimately be
                                                                                      0.2
explained by trade relationships among these countries remains an
interesting question for future research.
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4.4. Distribution of patent returns and patent designation




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    The estimates of μα and σα imply that in any speciﬁc country,




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pharmaceutical patents tend to have a higher median initial return                                                               Electronics Patents
and larger dispersion than electronics patents. These estimates are                                                       sample                                        simulation
consistent with Lanjouw (1998)'s ﬁndings of a high pharmaceutical                       1
patent value based on a Germany sample, but in contrast to
Schankerman (1998)'s French patent study that the pharmaceuticals                     0.8
are endowed with low median and mean returns and less dispersions
than electronics.
                                                                                      0.6
    As both authors have noted, France has the most stringent phar-
maceutical price regulation and the lowest drug prices in Europe,
whereas prices in Germany are largely unregulated and substantially                   0.4
higher than in many other west European countries. This may explain
why Schankerman (1998) obtains a lower value estimate for phar-                       0.2
maceutical patents than electronics but Lanjouw (1998) has a higher
estimate for pharmaceuticals. Such country differences in regulation                    0
policies are captured by our estimates of the country-ﬁxed effects qj's.
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Model estimates indicate that, on average, pharmaceutical patents




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have a substantially higher median return than electronics patents
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in most countries. The larger average family size of pharmaceutical
patents (about 50% larger than electronics) also points to a higher
                                                                                                             Fig. 3. Simulated and actual designation rates.
value and explains why our results are in general consistent with
Lanjouw (1998). Higher initial returns of pharmaceutical patents are
also consistent with the distinction between discrete and complex                    Table 4 also reveals that the distribution of the initial patent
technologies.                                                                    returns is highly skewed. For instance, in Germany, the sum of initial
    Table 4 displays the distribution of the simulated initial patent            returns of the bottom 50% of pharmaceutical patents applications
returns in each of the 10 EPO member countries in the two simulated              contributes about 0.6% of the total initial returns of the whole
patent groups. It reveals that, within the same technology group, the            pharmaceutical group, and about 90% of the total initial returns are
initial returns vary greatly across countries. For instance, the median          attributed to the top 10% of the patents. The bottom 50% of electronics
of the initial returns of simulated pharmaceutical patents is $8610              patent applications contributes only 1% of the total initial returns of
(in 2000 U.S. dollars, same below) in Germany, $7650 in the U.K., but            the whole group in Germany, while the top 10% contributes 85% of the
only $1430 in France, possibly reﬂecting the pharmaceutical price                total initial returns. The distribution of the initial returns in other
regulations in France. For electronics patents, the median of initial            countries has a similar pattern.
returns is $4080 in Germany, less than half of that of pharmaceutical                Table 5 compares the simulated value distribution of the patent
patents in that country. The median initial returns of electronics               families over their whole lives in these two technology ﬁelds, net of
patents are $2600 and $1770 in France and the U.K., respectively.
    The draw of the initial returns from the distribution determines
                                                                                 Table 5
the patent applicants' designation decisions in different countries.
                                                                                 Distribution of the net value of simulated patents.
As shown in Fig. 3, the simulated designation patterns match the
data reasonably well for both patent groups. Almost all simulated                                        Pharmaceutical                                       Electronics
pharmaceutical patents choose to designate Germany, France and the                 Percentile            Value ($ million)                    LC              Value ($ million)                  LC
U.K. at the time of initial ﬁling, and 96% choose to designate Italy.
                                                                                   50%                     0.12                                0.87            0.05                               0.88
The designation rate for Luxembourg is 49%, the lowest among all EPO               75%                     0.57                                4.74            0.22                               4.79
member countries. Corresponding to lower initial returns for the                   90%                     2.48                               14.86            0.86                              14.17
simulated electronics patents, their designation rate is also lower                95%                     5.68                               25.37            1.91                              23.38
                                                                                   99%                    26.16                               50.84            9.42                              46.37
than pharmaceutical patents in almost all countries: almost 100%
                                                                                   99.9%                 142.77                               78.17           60.86                              71.67
in Germany and France, 93% in the U.K., but only 58% in Italy. The                 Mean                    1.79                               –                0.70                              –
average number of designated countries is 8.8 for the simulated
                                                                                 Note: Columns 2 and 4 report the percentiles of the distribution of the total realized
pharmaceutical patents and 6.3 for the electronics patents, very close           patent values in all 10 EPO member countries from the simulation. Columns 3 and 5
to the average number in the actual sample (8.3 for pharmaceutical               report the Lorenz curve coefﬁcients of the simulated distribution. Monetary values are
and 5.6 for electronics patents as shown in Fig. 2).                             in units of 2000 U.S. dollars, and Lorenz curve coefﬁcients (LC) are in percentage points.
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designation and renewal costs. The median value of pharmaceutical                          et al. (1987) point out, a ﬁrm's bargaining power in negotiating cross-
patent families is about $0.12 million, more than twice as high as that                    licensing agreements depends on the relative size of its patent
of electronics patent families. The average value of pharmaceutical                        portfolio. Thus, electronics patent owners would have a strong in-
patent families is $1.79 million, again more than double that of                           centive to maintain the size of their patent portfolios, because under
electronics patents. On the other hand, the value distribution is highly                   asymmetric information this would strengthen their bargaining
skewed. For instance, the bottom 50% of low-valued pharmaceutical                          power. As the quality of patents in the portfolio is heterogeneous,
patent families accounts for less than 1% of the total value in the                        some low-quality or “lemon” patents become unworthy for renewal
cohort, and the top 0.1% highly valued pharmaceutical patent families                      at some point. However at the equilibrium the owner of the patent
accounts for more than 20% of the total value. Such a highly skewed                        portfolio may still choose to “over renew” these “lemon” patents, as
value distribution conﬁrms Deng (2007)'s ﬁnding that “the owners                           doing so will increase the size of his patent portfolio and subsequently
of higher quality inventions not only choose to keep their patents                         increase his bargaining power. Thus the average renewal rate of
alive longer in one country, but also seek patent protection in more                       electronics patents would tend to be higher, ceteris paribus.
countries.”
                                                                                           5. Concluding remarks
4.5. Patent renewal decisions
                                                                                                This paper formulates a dynamic stochastic model to examine the
    Fig. 4 compares the renewal rate of the simulated patents in both                      joint patent application and renewal behaviors under an international
technology groups, averaged across different destination countries                         patent-protection regime. The model utilizes both cross-sectional
and weighted by the number of patents transferred to each country.                         (multi-country application) and time-series (patent renewal) dimen-
The simulated electronics patents have a signiﬁcantly higher renewal                       sions of international patenting data to evaluate the private value of
rate at all ages and thus a longer average patent life, similar to the                     patents in a uniﬁed structural framework, allowing us to examine
empirical renewal pattern displayed in Fig. 2. The median length                           the correlations between the patent family size and the length of patent
of the simulated patent lives is 12 for pharmaceuticals and 14 for                         life, and advancing our understanding of how the patent value changes
electronics, identical to the median life length as observed in the data                   over time as well as across different countries.
(Fig. 2).                                                                                       The model is estimated using the designation and renewal records
    The obsolescence and depreciation dynamics play a very important                       of pharmaceutical and electronics patent applications ﬁled with the
role in the evolution of patent value over time and consequently in                        European Patent Ofﬁce from 1980 to 1985. Estimation results suggest
the patent holders' renewal decision making. The high obsolescence                         that pharmaceutical innovations on average are endowed with higher
rate in pharmaceutical patents may reﬂect several characteristics of                       initial returns, and the patent applicants seek protection in more
this industry. For instance, many of the pharmaceutical patents have                       countries than the electronics patent applicants. However, pharma-
to obtain approvals from certain food or drug administrations before                       ceutical patents become obsolete at a much faster pace than elec-
entering the market, and the higher obsolescence rate may simply                           tronics patents, and consequently they have lower renewal rates and
reﬂect the fact that a certain portion of them will not be able to pass the                shorter lives. We also ﬁnd that patent values in different countries are
check and drop out. Alternatively, the different obsolescence rates of                     highly correlated with the market size of the country, and patents in
these two technology groups may also come from different charac-                           these two technology ﬁelds have different returns to scale. In addition,
teristics of technological competitions in these two ﬁelds. As discussed                   compared with the national patents studied in previous literature,
above, pharmaceutical patents are often based on “discrete” technol-                       inventions ﬁled with the EPO have a much longer learning process of
ogies which are more likely to be exclusively utilized in the pro-                         their own values.
duction of the ﬁnal products such as drugs. Drugs treating the same
diseases are substitutes: when a new drug is introduced, it quickly                        Appendix A. Model solution
becomes a competitor to the existing ones and erodes their market
shares. As a result, once a new patent is born in the same area, the                           Part I of Appendix A, based on the solution algorithm developed in
old pharmaceutical patent may simply lose its value and becomes                            Pakes (1986) and Lanjouw (1998), solves the renewal problem faced
obsolete. By contrast, new technologies in electronics industries are                      by the representative patentee in any member country j, j = 1,…, J.
often the results of some successive technological innovation process                      Part II extends the stochastic renewal model by Pakes (1986) to a
(“complex” technologies), and the patent owners often proﬁt from                           multi-country setting and characterizes the representative patent
the patented ideas through cross-licensing agreements. As Levin                            applicant's application and designation decision rules and gives the
                                                                                           estimator's moment conditions.

1.0                                                                                        A.1. Part I. The renewal decision rule
                                                                Pharmaceutical
                                                                Electronics
                                                                                               The value of the patent at age t, as rewritten in Eq. (A1), is:
0.8

                                                                                                                                      
0.6                                                                                        V ðt; rt Þ = max 0; rt + βEt V t + 1; rt + 1 − ct :                   ðA1Þ


0.4                                                                                            Starting from age T, the value function is given by:


0.2
                                                                                           V ðT; rT Þ = maxf0; rT − cT g:                                        ðA2Þ


0.0                                                                                             This is because T is the maximal age that the patent can possibly be
           4         6        8       10      12       14       16       18      20        kept in force and ETV(T + 1, rT + 1) is simply zero. The minimal return
                                                                                           rT* to justify the renewal at age T can be obtained by setting Eq. (A2) to
               Fig. 4. Average renewal rates of the simulated patents.                     zero: V(T, rT) = 0, or rT* = cT.
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          Technology policy for a world of skew-distributed outcomes
                                                                 a,)                            b
                                            F.M. Scherer               , Dietmar Harhoff
                           a
                               HarÕard UniÕersity, John F. Kennedy School of GoÕernment, Cambridge, MA 02138, USA
                                                     b
                                                       UniÕersity of Munich, Munich, Germany



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      This paper draws implications for technology policy from evidence on the size distribution of returns from eight sets of
   data on inventions and innovations attributable to private sector firms and universities. The distributions are all highly skew;
   the top 10% of sample members captured from 48 to 93 percent of total sample returns. It follows that programs seeking to
   advance technology should not be judged negatively if they lead to numerous economic failures; rather, emphasis should be
   placed on the relatively few big successes. To achieve noteworthy success with appreciable confidence, a sizeable array of
   projects must often be supported. The outcome distributions are sufficiently skewed that, even with large numbers of
   projects, it is not possible to diversify away substantial residual variability through portfolio strategies. q 2000 Elsevier
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   Keywords: Innovation; Risk; Skewness; Portfolio strategies




      During the past several years the authors have                      tion properties of the returns from invention and
   been compiling data on the size distribution of finan-                 innovation. Drawing upon a small sample survey of
   cial returns within samples of significant technologi-                 US patents, co-author Scherer Ž1965. Žp. 1098. dis-
   cal innovations. Our uniform finding is that the                       covered a distribution of estimated profits from
   returns are skew-distributed. Most innovations yield                   patented inventions so skew that ‘‘patent statistics
   modest returns, but the size distribution has a long                   are likely to measure run-of-the-mill industrial inven-
   thin tail encompassing a relatively few innovations                    tive output much more accurately than they reflect
   with particularly high returns. In this paper, we                      the occasional strategic inventions which open up
   review earlier research, summarize our new evi-                        new markets and new technologies. The latter must
   dence, and suggest implications for technology pol-                    probably remain the domain of economic historians.’’
   icy.                                                                   A second line of investigation differentiated the value
                                                                          of patents by the time when their holders chose not
                                                                          to pay the annual renewal fees imposed in some
    3ULRU UHVHDUFK                                                      nations. The pioneering article in this tradition, over-
      Until recently there has been relatively little sys-                looked by subsequent investigators, was by Dernburg
   tematic empirical research on the statistical distribu-                and Gharrity Ž1961–1962.. Leading examples of later
                                                                          investigations using more powerful econometric
                                                                          techniques include Pakes and Schankerman Ž1984.,
     )
         Corresponding author.                                            Pakes Ž1986., Schankerman and Pakes Ž1986., and

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   560                                    F.M. Scherer, D. Harhoffr Research Policy 29 (2000) 559–566

   Lanjou et al. Ž1996.. These studies confirmed that
   the size distribution of patent values is indeed quite
   skew, most likely conforming either to a log normal
   or Paretian distribution law. A third line of research
   by Grabowski and Vernon Ž1990; 1994. used the
   particularly rich data available on sales of individual
   ethical drugs throughout the world to estimate the
   distribution of profits Žor more exactly, quasi-rents.
   attained by samples of new drugs approved by the
   US Food and Drug Administration ŽFDA.. Again, a
   skew distribution was found, leading inter alia to the
   conclusion that heavy-handed price controls could
   jeopardize the continued vitality of new drug discov-                            Fig. 1. Distribution of German patent values.
   ery and testing efforts Žsee e.g., Grabowski and
   Vernon, 1996; Scherer, 1996..
                                                                          222 US-origin inventions, on all of which German
                                                                          patent applications were filed in 1977, leading to
    7KH QHZ HYLGHQFH                                                    issued German patents considered sufficiently valu-
                                                                          able by their holders to warrant paying annual re-
       Altogether, we have assembled eight data sets,                     newal fees totalling DM 16,075 until their expiration
   seven of which are new to the literature. Table 1                      at full term in 1995. These are called the ‘‘German
   describes the samples and provides a simple indica-                    patents’’ and ‘‘US patents’’ in Table 1. 1 Fig. 1
   tor of distribution skewness — the fraction of total                   shows the distribution of summed German patent
   sample profits, royalties, or stock market value con-                  values by value class intervals, with the number of
   tributed by the 10% of the sample members realizing                    patents in each value category given in parentheses
   the highest absolute or relative rewards.                              above the bars. Fifty-four percent of the value is
       In the most ambitious of our efforts, we collected                 concentrated in the five inventions with values of
   survey and interview evidence on 772 German- and                       DM 50 million or more.
                                                                             Our first-stage patent survey methodology asked
                                                                          company respondents to answer a single counter-
   Table 1                                                                factual question, phrased as follows in the US sur-
   Proportion of innovation samples’ total value realized by the most     vey.
   valuable 10% of innovations
   Data set                         Number of      Percent of                 If in 1980 you knew what you now know about
                                    observations   value in top 10%
                                                                              the profit history of the invention abstracted here,
   German patents                   772            84                         what is the smallest amount for which you would
   US patents                       222            81–85
   Harvard patents                  118            84
                                                                              have been willing to sell this patent to an indepen-
   Six university patents                                                     dent third party, assuming that you had a bona
      1991 royalties                350            93                         fide offer to purchase and that the buyer would
      1992 royalties                408            92                         subsequently exercise its full patent rights?
      1993 royalties                466            91.5
      1994 royalties                411            92
   Venture Economics startups       383            62
                                                                          In the first-stage survey, respondents were asked to
   Horseley–Keogh startups          670            59                     place each sample patent in one of five value cate-
   Initial public stock offerings   110            62
   ŽIPOs. — 1995 stock value
   Grabowski–Vernon
      1970s drugs                    98            55                        1
                                                                               A detailed analysis is found in Harhoff et al. Ž1997.. The
      1980s drugs                    66            48                     monetary patent value estimates are linked to subsequent patent
                                                                          citations in Harhoff et al. Ž1999..
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  ST. JUDE MEDICAL, CARDIOLOGY
  DIVISION, INC., ST. JUDE MEDICAL
  SYSTEMS AB, and ST. JUDE MEDICAL        Case No. 1:10-cv-00631-RGA
  S.C., INC.,

               Plaintiffs and
               Counterclaim Defendants,

         v.                                         &21),'(17,$/

  VOLCANO CORPORATION,                            ),/('81'(56($/

               Defendant and
               Counterclaimant.
                                          


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   conduct in Europe when faced with a similar rejection for lack of a description of this feature in

   the identical European patent (EP 1,658,808), and Volcano's own concession that this feature

   was lacking in the specification. Volcano argues that the legal standards in foreign countries are

   different from the United States, but whether its patent's written description describes the "lumen

   projecting into a housing feature" is a question of fact, not law. See Centocor Ortho Biotech,

   Inc. v. Abbott Labs., 636 F.3d 1341, 1347 (Fed. Cir. 2011) ("Compliance with the written

   description requirement of 35 U.S.C. § 112, ¶ 1 is a question of fact."). Thus, Volcano's cases

   regarding legal determinations made in other jurisdictions are entirely irrelevant. Indeed, the

   Federal Circuit has endorsed relying on statements made in foreign prosecution histories where

   factual questions concerning the doctrine of equivalents were involved, Tanabe Seiyaku Co. v.

   Int'l Trade Comm'n, 109 F.3d 726, 733 (Fed. Cir. 1997) ("In evaluating infringement under the

   doctrine of equivalents, representation[s] to foreign patent offices should be considered ... when

   [they] comprise relevant evidence."), and there is no reason why factual questions concerning

   written description should be treated differently.

          Volcano's response in the European prosecution is an admission, not a foreign legal

   determination. In responding to the examiner's rejection, Volcano ignored the examiner's point

   that there was no disclosure of a pressure sensitive region that projects into the lumen. (D.I. 285

   Ex. 16, ¶ 588 (quoting Volcano's Response).) The examiner maintained his rejection and pointed

   out that Volcano's response was nonresponsive. (Id. ¶ 589.) Volcano then abandoned its

   application for these claims, which are identical to the '965 Patent Claim 1 that Volcano is

   asserting against St. Jude. (Id. ¶ 569.) Volcano's acquiescence in the examiner's rejection is an

   admission against interest demonstrating that Volcano itself recognized that its specification does

   not describe a pressure sensitive region that projects into the lumen of the sensor housing.



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          Radi’s ’442 patent cannot provide evidence of “separate patentability.” First, Volcano’s

   ’856 patent was not cited or considered during prosecution of Radi’s ’442 patent. Second, none

   of the claims of the ’442 patent is directed to the “sleeveless gap-and-separate-chamfer-wire

   male connector” St. Jude contends distinguish its products from the ’159 or ’856 patents.9 Third,

   the single dependent claim of the ’442 patent that references a “separate” core wire (claim 20)

   was deemed patentable based on the many limitation of its base claim. Indeed, Volcano’s ’159

   patent teaches a two-piece core wire, meaning this feature alone could not be inventive more

   than a decade later. [See D.I. 275 Ex. 20 Figs. 1, 3-5.] St. Jude concedes the ’442 patent is

   irrelevant to literal infringement. Because a two-piece core wire could not be the basis of

   patentability, it is also irrelevant to DOE. As such, the ’442 patent should be excluded because

   its introduction would only complicate Volcano’s trial, confuse the jury and prejudice Volcano.

          The’808 application will likewise prove confusing to the jury, as its introduction will

   require the Court and the parties to explain the different legal standards applied in foreign and

   U.S. patent prosecution practice. The parties will also be required to address the prosecution

   history of the ’808 foreign application and St. Jude’s mistaken characterization of it. Moreover,

   far from providing evidence of an affirmative party “statement” or “admission against interest,”

   the foreign prosecution history at most constitutes a determination by a foreign patent examiner,

   which he subsequently withdrew. Given the absence of probative evidence and the great deal of

   time that will need to be expended to address these extraneous issues, the EP 808 patent and its

   prosecution should also be excluded from both trials.




   9
     Although Dr. Durfee compared St. Jude’s accused products and the ’442 patent, he never
   opined that those accused products embody the ’442 patent.

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          Volcano respectfully requests that the Court preclude St. Jude during both trials from

   presenting any evidence regarding the expiration date of U.S. Patent No. 5,178,159 (“the ’159

   patent”), or from otherwise informing the jury that the ’159 patent has expired. The expiration of

   the ’159 patent is only relevant, if at all, to the issue of damages due to Volcano, which has been

   bifurcated from the upcoming jury trial. Because the jury might mistakenly believe that an

   expired patent cannot be infringed prior to its expiration or that, that it cannot serve as

   invalidating prior art to St. Jude’s asserted ’624 and ’980 patents, or that the ’159 patent is

   somehow weaker on the merits than the other patents, allowing such evidence to be considered

   would be substantially more prejudicial than probative. See Fed. R. Evid. 402 & 403.

          The sole issues for the jury in the October trials are whether the asserted patents are

   infringed and/or valid. Neither of these inquiries depends on or in any way relates to the recent

   expiration of the ’159 patent. The only St. Jude products accused of infringing the ’159 patent

   were made, used, offered for sale, or sold prior to the expiration of the ’159 patent. See D.I. 275

   Ex. 27 Expert Report of Jerome Segal at ¶¶ 41-47, 52. Specifically, Volcano is accusing St.

   Jude’s PressureWire products, model numbers 12000-12002, 12003/12303, 12004/12304,

   12005/12305, and 12006/12306 of infringing the ’159 patent. Id. All of these accused products

   received marketing approval from the Food and Drug Administration (“FDA”) on or before

   December 4, 2006, and were launched in or before 2008. See id.; see also Ex. 3 (Deposition of

   Stefan Tiensuu, Ex. 2). Although St. Jude may have sold some of these products after

   expiration, the specific time periods during which those products were sold is not relevant to the

   infringement and validity issues being considered by the jury. Instead, if the jury finds that these


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